                                  Case 23-11398-LSS                 Doc 1       Filed 09/08/23           Page 1 of 20


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                     Chapter       7
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                BHF Morue, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  40 Herman Melville Blvd
                                  New Bedford, MA 02740
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Bristol                                                       Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.blueharvestfisheries.com/


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 1
                                      Case 23-11398-LSS                Doc 1        Filed 09/08/23            Page 2 of 20
Debtor    BHF Morue, LLC                                                                           Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                1141

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                     Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check        Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                               When                                Case number
                                                 District                               When                                Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                       Case 23-11398-LSS                      Doc 1      Filed 09/08/23             Page 3 of 20
Debtor    BHF Morue, LLC                                                                                Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      See Annex 1                                                  Relationship

                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or              No
    have possession of any
    real property or personal           Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?

                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                                                   4 Washington Street
                                                  Where is the property?           Fairhaven, MA, 02719-0000
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes.       Insurance agency    Brown & Brown
                                                               Contact name        David McIlravy
                                                               Phone               757-628-3207


          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of
    creditors
                                        1-49                                           1,000-5,000                                25,001-50,000
                                        50-99                                          5001-10,000                                50,001-100,000
                                        100-199                                        10,001-25,000                              More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                                                                        $100,000,001 - $500 million                More than $50 billion
Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
                            Case 23-11398-LSS               Doc 1       Filed 09/08/23          Page 4 of 20
Debtor   BHF Morue, LLC                                                              Case number (if known)
         Name


                             $500,001 - $1 million




16. Estimated liabilities    $0 - $50,000                             $1,000,001 - $10 million               $500,000,001 - $1 billion
                             $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                             $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                             $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
                                  Case 23-11398-LSS                   Doc 1        Filed 09/08/23             Page 5 of 20
Debtor    BHF Morue, LLC                                                                           Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 8, 2023
                                                  MM / DD / YYYY


                             X /s/ Charles E. Wilson, Jr.                                                 Charles E. Wilson, Jr.
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X /s/ R. Stephen McNeill                                                      Date September 8, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 R. Stephen McNeill 5210
                                 Printed name

                                 Potter Anderson & Corroon LLP
                                 Firm name

                                 1313 North Market Street, 6th Floor
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     302-984-6000                  Email address      rmcneill@potteranderson.com

                                 5210 DE
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                               Case 23-11398-LSS                   Doc 1           Filed 09/08/23        Page 6 of 20




Fill in this information to identify the case:

Debtor name         BHF Morue, LLC

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration     Corporate Ownership Statement and List of Equity Holders

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       September 8, 2023               X /s/ Charles E. Wilson, Jr.
                                                           Signature of individual signing on behalf of debtor

                                                            Charles E. Wilson, Jr.
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                                 Case 23-11398-LSS                    Doc 1      Filed 09/08/23            Page 7 of 20
B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                                     District of Delaware
 In re       BHF Morue, LLC                                                                                   Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                140,000.00
             Prior to the filing of this statement I have received                                        $                140,000.00
             Balance Due                                                                                  $                        0.00

2.   The source of the compensation paid to me was:

              Debtor               Other (specify):      Blue Harvest Fisheries, LLC

3.   The source of compensation to be paid to me is:
              Debtor            Other (specify):

4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.
          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]


6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
             any other adversary proceeding.
                                                                      CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     September 8, 2023                                                        /s/ R. Stephen McNeill
     Date                                                                     R. Stephen McNeill 5210
                                                                              Signature of Attorney
                                                                              Potter Anderson & Corroon LLP
                                                                              1313 North Market Street, 6th Floor
                                                                              Wilmington, DE 19801
                                                                              302-984-6000 Fax: 302-658-1192
                                                                              rmcneill@potteranderson.com
                                                                              Name of law firm
                Case 23-11398-LSS          Doc 1    Filed 09/08/23     Page 8 of 20




                                               Annex 1
          Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor
         On the date hereof, each of the entities below (collectively, the “Debtors”) filed a Petition

in the United States Bankruptcy Court for the District of Delaware for relief under chapter 7 of

title 11 of the United States Code.

        Blue Harvest Fisheries Partners, LLC

        Blue Harvest Fisheries Incentive, LLC

        BHF Fish Blocker, LLC

        Blue Harvest Fisheries Holdings, LLC

        Blue Harvest Maritime, LLC

        Blue Harvest Fisheries Parent, LLC

        Blue Harvest Fisheries, LLC

        Blue Harvest Fleet, LLC

        BHF Fish Co, LLC

        BHF Blue Harbor, LLC

        BHF Blue Stream, LLC

        BHF Blue Wave, LLC

        BHF Blue South, LLC

        Diane Marie Fishery, Inc.

        BHF Blue Sea, LLC

        BHF Blue Cove, LLC

        BHF Blue Western, LLC

        BHF Blue Delta, LLC

        BHF Blue Water, LLC

        BHF Blue Lagoon, LLC



11008383v.1
                Case 23-11398-LSS      Doc 1       Filed 09/08/23   Page 9 of 20




        BHF Blue Eastern, LLC

        BHF Blue Pacific, LLC

        Kathryn Ann Fishing, Inc.

        BHF Blue Ocean, LLC

        BHF Blue Harvest, LLC

        BHF Blue North, LLC

        BHF Teresa Marie III, LLC

        BHF Harmony, LLC

        BHF Carrabassett, LLC

        BHF Teresa Marie IV, LLC

        BHF Blue Canyon, LLC

        BHF Nobska, LLC

        BHF Schelvis, LLC

        BHF Morue, LLC

        BHF Allagash, LLC

        IMT AssetCo, LLC

        BHF PermitCo, LLC

        North Queen Fishing, Inc.

        Blue Harvest Foods, LLC

        Blue Harvest Marine Services, LLC




                                               2

11008383v.1
                Case 23-11398-LSS   Doc 1   Filed 09/08/23   Page 10 of 20




                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

 In re:                                              Chapter 7
 BLUE HARVEST FISHERIES PARTNERS, LLC                Case No. 23-_____ (___)
 BLUE HARVEST FISHERIES INCENTIVE, LLC
 BHF FISH BLOCKER, LLC
 BLUE HARVEST FISHERIES HOLDINGS, LLC
 BLUE HARVEST MARITIME, LLC
 BLUE HARVEST FISHERIES PARENT, LLC
 BLUE HARVEST FISHERIES, LLC
 BLUE HARVEST FLEET, LLC
 BHF FISH CO, LLC
 BHF BLUE HARBOR, LLC
 BHF BLUE STREAM, LLC
 BHF BLUE WAVE, LLC
 BHF BLUE SOUTH, LLC
 DIANE MARIE FISHERY, INC.
 BHF BLUE SEA, LLC
 BHF BLUE COVE, LLC
 BHF BLUE WESTERN, LLC
 BHF BLUE DELTA, LLC
 BHF BLUE WATER, LLC
 BHF BLUE LAGOON, LLC
 BHF BLUE EASTERN, LLC
 BHF BLUE PACIFIC, LLC
 KATHRYN ANN FISHING, INC.
 BHF BLUE OCEAN, LLC
 BHF BLUE HARVEST, LLC
 BHF BLUE NORTH, LLC
 BHF TERESA MARIE III, LLC
 BHF HARMONY, LLC
 BHF CARRABASSETT, LLC
 BHF TERESA MARIE IV, LLC
 BHF BLUE CANYON, LLC
 BHF NOBSKA, LLC
 BHF SCHELVIS, LLC
 BHF MORUE, LLC
 BHF ALLAGASH, LLC
 IMT ASSETCO, LLC
 BHF PERMITCO, LLC
 NORTH QUEEN FISHING, INC.
 BLUE HARVEST FOODS, LLC
 BLUE HARVEST MARINE SERVICES, LLC
                  Debtors.



IMPAC 11002377v.1
                   Case 23-11398-LSS          Doc 1   Filed 09/08/23   Page 11 of 20




                           CORPORATE OWNERSHIP STATEMENT
                      PURSUANT TO FED. R. BANKR. P. 1007(a)(1) and 7007.1

           I, Charles E. Wilson, Jr., President of Blue Harvest Fisheries Partners, LLC, et al. (the

“Debtors”)1 hereby state pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of

Bankruptcy Procedure that the following corporate entities directly own 10% or more of the

Debtors’ member interests.

Blue Harvest Fisheries Partners, LLC:

                  EQUITY HOLDER                           PERCENTAGE OF TOTAL EQUITY
                  Bregal Partners L.P.                              89.5%
                    BHF Davis LLC                                    4.7%
                    Jeffrey W. Davis                                 1.7%
                   Louise Lischewski                                 1.6%
                   Michael Arougheti                                 1.3%
                  Mark E. Thierfelder                                0.7%
                    Alex Mulholland                                  0.1%
                    Daniel M. Dunn                                   0.2%
                      Keith Decker                                   0.3%

Blue Harvest Fisheries Incentive, LLC:

               EQUITY HOLDER                              PERCENTAGE OF TOTAL EQUITY
        Blue Harvest Fisheries Partners, LLC                        92.9%
                   Keith Decker                                      2.5%
                  Richard Speed                                      1.1%
                  Charles Wilson                                     1.1%
                 Alex Mulholland                                     0.7%
                 Eugene Bergson                                      0.7%
                Louise Lischewski                                    0.2%
                 John Cummings                                       0.2%
                    James Odin                                       0.2%
                 Amy Humphreys                                       0.2%
                 Inge Andreassen                                     0.2%

BHF Fish Blocker, LLC:

                EQUITY HOLDER                             PERCENTAGE OF TOTAL EQUITY
        Blue Harvest Fisheries Incentive, LLC                        100%


1
    Each individual debtor is listed below.

                                                      2
IMPAC 11002377v.1
                Case 23-11398-LSS        Doc 1   Filed 09/08/23   Page 12 of 20




Blue Harvest Fisheries Holdings, LLC:

               EQUITY HOLDER                         PERCENTAGE OF TOTAL EQUITY
              BHF Fish Blocker, LLC                             100%

Blue Harvest Maritime, LLC:

              EQUITY HOLDER                          PERCENTAGE OF TOTAL EQUITY
           Blue Harvest Fisheries, LLC                          100%

Blue Harvest Fisheries Parent, LLC:

             EQUITY HOLDER                           PERCENTAGE OF TOTAL EQUITY
      Blue Harvest Fisheries Holdings, LLC                      100%

Blue Harvest Fisheries, LLC:

             EQUITY HOLDER                           PERCENTAGE OF TOTAL EQUITY
       Blue Harvest Fisheries Parent, LLC                       100%

Blue Harvest Fleet, LLC:

              EQUITY HOLDER                          PERCENTAGE OF TOTAL EQUITY
           Blue Harvest Maritime, LLC                           100%

BHF Fish Co, LLC:

              EQUITY HOLDER                          PERCENTAGE OF TOTAL EQUITY
           Blue Harvest Maritime, LLC                           100%

BHF Blue Harbor, LLC:

               EQUITY HOLDER                         PERCENTAGE OF TOTAL EQUITY
              Blue Harvest Fleet, LLC                           100%

BHF Blue Stream, LLC:

               EQUITY HOLDER                         PERCENTAGE OF TOTAL EQUITY
              Blue Harvest Fleet, LLC                           100%

BHF Blue Wave, LLC:

               EQUITY HOLDER                         PERCENTAGE OF TOTAL EQUITY
              Blue Harvest Fleet, LLC                           100%



                                                 3
IMPAC 11002377v.1
                Case 23-11398-LSS       Doc 1   Filed 09/08/23   Page 13 of 20




BHF Blue South, LLC:

               EQUITY HOLDER                        PERCENTAGE OF TOTAL EQUITY
              Blue Harvest Fleet, LLC                          100%

Diane Marie Fishery, Inc.:

               EQUITY HOLDER                        PERCENTAGE OF TOTAL EQUITY
               BHF Blue South, LLC                             100%

BHF Blue Sea, LLC:

               EQUITY HOLDER                        PERCENTAGE OF TOTAL EQUITY
              Blue Harvest Fleet, LLC                          100%

BHF Blue Cove, LLC:

               EQUITY HOLDER                        PERCENTAGE OF TOTAL EQUITY
              Blue Harvest Fleet, LLC                          100%

BHF Blue Western, LLC:

               EQUITY HOLDER                        PERCENTAGE OF TOTAL EQUITY
              Blue Harvest Fleet, LLC                          100%

BHF Blue Delta, LLC:

               EQUITY HOLDER                        PERCENTAGE OF TOTAL EQUITY
              Blue Harvest Fleet, LLC                          100%

BHF Blue Water, LLC:

               EQUITY HOLDER                        PERCENTAGE OF TOTAL EQUITY
              Blue Harvest Fleet, LLC                          100%

BHF Blue Lagoon, LLC:

               EQUITY HOLDER                        PERCENTAGE OF TOTAL EQUITY
              Blue Harvest Fleet, LLC                          100%

BHF Blue Eastern, LLC:

               EQUITY HOLDER                        PERCENTAGE OF TOTAL EQUITY
              Blue Harvest Fleet, LLC                          100%



                                                4
IMPAC 11002377v.1
                Case 23-11398-LSS       Doc 1   Filed 09/08/23   Page 14 of 20




BHF Blue Pacific, LLC:

               EQUITY HOLDER                        PERCENTAGE OF TOTAL EQUITY
              Blue Harvest Fleet, LLC                          100%

Kathryn Ann Fishing, Inc.:

               EQUITY HOLDER                        PERCENTAGE OF TOTAL EQUITY
              BHF Blue Pacific, LLC                            100%

BHF Blue Ocean, LLC:

               EQUITY HOLDER                        PERCENTAGE OF TOTAL EQUITY
              Blue Harvest Fleet, LLC                          100%

BHF Blue Harvest, LLC:

               EQUITY HOLDER                        PERCENTAGE OF TOTAL EQUITY
              Blue Harvest Fleet, LLC                          100%

BHF Blue North, LLC:

               EQUITY HOLDER                        PERCENTAGE OF TOTAL EQUITY
              Blue Harvest Fleet, LLC                          100%

BHF Teresa Marie III, LLC:

                EQUITY HOLDER                       PERCENTAGE OF TOTAL EQUITY
                 BHF Fish Co, LLC                              100%

BHF Harmony, LLC:

                EQUITY HOLDER                       PERCENTAGE OF TOTAL EQUITY
                 BHF Fish Co, LLC                              100%

BHF Carrabassett, LLC:

                EQUITY HOLDER                       PERCENTAGE OF TOTAL EQUITY
                 BHF Fish Co, LLC                              100%

BHF Teresa Marie IV, LLC:

                EQUITY HOLDER                       PERCENTAGE OF TOTAL EQUITY
                 BHF Fish Co, LLC                              100%



                                                5
IMPAC 11002377v.1
                Case 23-11398-LSS        Doc 1   Filed 09/08/23   Page 15 of 20




BHF Blue Canyon, LLC:

                EQUITY HOLDER                        PERCENTAGE OF TOTAL EQUITY
                 BHF Fish Co, LLC                               100%

BHF Nobska, LLC:

                EQUITY HOLDER                        PERCENTAGE OF TOTAL EQUITY
                 BHF Fish Co, LLC                               100%

BHF Schelvis, LLC:

                EQUITY HOLDER                        PERCENTAGE OF TOTAL EQUITY
                 BHF Fish Co, LLC                               100%

BHF Morue, LLC:

                EQUITY HOLDER                        PERCENTAGE OF TOTAL EQUITY
                 BHF Fish Co, LLC                               100%

BHF Allagash, LLC:

                EQUITY HOLDER                        PERCENTAGE OF TOTAL EQUITY
                 BHF Fish Co, LLC                               100%

IMT AssetCo, LLC:

              EQUITY HOLDER                          PERCENTAGE OF TOTAL EQUITY
           Blue Harvest Maritime, LLC                           100%

BHF PermitCo, LLC:

              EQUITY HOLDER                          PERCENTAGE OF TOTAL EQUITY
           Blue Harvest Maritime, LLC                           100%

North Queen Fishing, Inc.:

               EQUITY HOLDER                         PERCENTAGE OF TOTAL EQUITY
               BHF Blue Delta, LLC                              100%

Blue Harvest Foods, LLC:

              EQUITY HOLDER                          PERCENTAGE OF TOTAL EQUITY
           Blue Harvest Fisheries, LLC                          100%



                                                 6
IMPAC 11002377v.1
                Case 23-11398-LSS        Doc 1   Filed 09/08/23    Page 16 of 20




Blue Harvest Marine Services, LLC:

               EQUITY HOLDER                         PERCENTAGE OF TOTAL EQUITY
             Blue Harvest Foods, LLC                            100%


Dated: September 8, 2023
                                       Signature: /s/ Charles E. Wilson, Jr.
                                                 Charles E. Wilson, Jr., President
                                                 Blue Harvest Fisheries Partners, LLC, et al.




                                                 7
IMPAC 11002377v.1
                Case 23-11398-LSS           Doc 1     Filed 09/08/23       Page 17 of 20



                                 WRITTEN CONSENT OF
                      THE SALE AND RESTRUCTURING COMMITTEE OF
                               THE BOARD OF MANAGERS
                                         OF
                        BLUE HARVEST FISHERIES PARTNERS, LLC,

                                                       7 2023
                                            September __,

                  THE UNDERSIGNED, being the sole member of the Sale and Restructuring Committee
(the “Committee”) of the board of managers (the “Board”) of Blue Harvest Fisheries Partners, LLC
(“Partners”), for and on behalf of Partners and certain Subsidiaries (as defined in that certain Third
Amended and Restated Limited Liability Company Agreement of Partners, dated as of December 5, 2016,
as amended, restated or supplemented from time to time (the “Partners Agreement”)) of Partners, namely
Blue Harvest Fisheries Holdings, LLC (“Holdings”), Blue Harvest Fisheries, LLC (“Fisheries”), Blue
Harvest Fleet, LLC (“Fleet”), Blue Harvest Foods, LLC (“Foods”), Blue Harvest Marine Services, LLC
(“Marine Services”), Blue Harvest Fisheries Parent, LLC (“Parent”), Blue Harvest Maritime, LLC
(“Maritime”), BHF Blue Harbor, LLC (“Harbor”), BHF Blue Sea, LLC (“Sea”), BHF Blue Water, LLC
(“Water”), BHF Blue Ocean, LLC (“Ocean”), BHF Blue Stream, LLC (“Stream”), BHF Blue Cove, LLC
(“Cove”), BHF Blue Lagoon, LLC (“Lagoon”), BHF Blue Harvest, LLC (“Harvest”), BHF Blue Delta,
LLC (“Delta”), BHF Blue Pacific, LLC (“Pacific”), BHF Blue Wave, LLC (“Wave”), BHF Blue North,
LLC (“North”), BHF Blue South, LLC (“South”), BHF Blue Eastern, LLC (“Eastern”), and BHF Blue
Western, LLC (“Western”), BHF Fish Blocker, LLC (“Fish Blocker”), BHF PermitCo, LLC (“BHF
Permit”), IMT AssetCo, LLC (“AssetCo”), BHF Fish Co, LLC ( “FishCo”), BHF Teresa Marie III, LLC
(“TM III”), BHF Teresa Marie IV, LLC (“TM IV”), BHF Nobska, LLC (“Nobska”), BHF Morue, LLC
(“Morue”) BHF Harmony, LLC (“Harmony”), BHF Blue Canyon, LLC (“Canyon”), BHF Schelvis, LLC
(“Schelvis”), BHF Allagash, LLC (“Allagash”) and BHF Carrabassett, LLC (“Carrabassett”) and Blue
Harvest Fisheries Incentive, LLC (“Incentive”), Partners and each of the foregoing a Delaware limited
liability company (each a “Company” and, collectively, the “Companies”), and acting by written consent
in lieu of a meeting in accordance with Section 18-404(d) of the Delaware Limited Liability Company Act
(the “Act”), hereby consents to the taking of the actions and adoption of the following resolutions, such
actions and resolutions to have the same force and effect as though duly taken and adopted at a meeting
of the Committee duly called and legally held:

        WHEREAS, each Company (except for Partners) is a Subsidiary of Partners (each such Company,
a “Partners Subsidiary” and collectively, the “Partners Subsidiaries”);

         WHEREAS, on August 29, 2023, the Board delegated to the Committee the authority, among other
things, to determine for and on behalf of the Companies whether commencing filings and other proceedings
under Title 11 of the United States Code (11 U.S.C. §§ 101 et seq., the “Bankruptcy Code”), including,
without limitation, under Chapter 7 thereof, in a United States Bankruptcy Court, and preparing any and all
related petitions, filings, financings, sales and transactions arising out of or related thereto (“Bankruptcy
Proceedings”) is the proper or appropriate course of action for the Companies;

         WHEREAS, the Committee is empowered, if it determines that initiating Bankruptcy Proceedings
is the proper or appropriate course of action, to cause the Companies to commence Bankruptcy Proceedings
for themselves and on behalf of the Partners Subsidiaries each such Company controls, including in such
Company’s capacity as the sole member or manager of a Partners Subsidiary, as applicable;

        WHEREAS, pursuant to the power and authority vested in the Committee, the Committee has
considered the business and financial conditions and results of operations of each of the Companies on the
date hereof, including the assets and liabilities of each Company;
                Case 23-11398-LSS           Doc 1     Filed 09/08/23       Page 18 of 20




         WHEREAS, the Committee has reviewed, considered and received the recommendations of the
senior management of each Company and each Company’s legal, financial and other advisors as to the
relative risks and benefits of pursuing a Bankruptcy Proceeding;

         WHEREAS, based on factors and information deemed relevant by the Committee, in the business
judgment of the Committee, it is proper, appropriate, desirable and in the best interest of each Company, as
well as the best interest of each Company’s creditors and other interested parties under the circumstances
set forth herein, that each Company commence a Bankruptcy Proceeding by filing a voluntary petition for
relief under Chapter 7 of the Bankruptcy Code for itself and on behalf of the Partners Subsidiaries each
such Company controls, including in such Company’s capacity as the sole member or manager of a Partners
Subsidiary, as applicable; and

        WHEREAS, the consent of the Bregal Member (as defined in the Partners Agreement) to the
actions set forth herein has been obtained in accordance with Section 4.08(d) of the Partners Agreement.

         NOW, THEREFORE, BE IT RESOLVED, that in the business judgment of the Committee, it is
proper, appropriate, desirable and in the best interest of each Company, its creditors and other parties in
interest, taken as a whole, that each Company commence a Bankruptcy Proceeding by filing or causing to
be filed a voluntary petition for relief under the provisions of Chapter 7 of the Bankruptcy Code, for itself
and on behalf of the Partners Subsidiaries each such Company controls, including in such Company’s
capacity as the sole member or manager of a Partners Subsidiary; and be it

        RESOLVED FURTHER, that any of the officers of the Companies and Patrick Bartels, in his
capacity as the sole member of the Committee (each, an “Authorized Person”) be, and each acting alone
hereby is, authorized, empowered, and directed to: (i) execute and file (or direct others to do so on such
Authorized Person’s behalf as provided herein) in the name and on behalf of such Company, and, as
applicable, in the name and on behalf of the Partners Subsidiaries each such Company controls, including
in such Company’s capacity as the sole member or manager of a Partners Subsidiary, a petition under
Chapter 7 of the Bankruptcy Code with the United States Bankruptcy Court for the District of Delaware in
such form and at such time as such Authorized Person shall determine (a “Chapter 7 Case”); (ii) execute
and file all petitions, schedules, motions, lists, applications, pleadings and other papers contemplated
thereby or related thereto; and (iii) employ and retain all legal counsel, accountants and/or other
professionals, and take any and all other actions, which such Authorized Person deems to be necessary,
convenient, desirable, advisable or appropriate in connection with the applicable Chapter 7 Case; and be it

         RESOLVED FURTHER, that each Authorized Person, and any employees or agents (including
legal counsel) of a Company designated or directed by such Authorized Person, shall be, and each hereby
is, authorized, empowered and directed to take or cause to be taken all steps and to do or cause to be done
all acts and things, including the execution and delivery of any documents or instruments, as such
Authorized Person deems necessary, convenient, desirable, advisable or appropriate to carry out, comply
with and/or effectuate the purposes and intents of the foregoing resolutions and the transactions
contemplated thereby, such determination to be conclusively evidenced by the taking of such steps and the
doing of such acts and things; and be it

         RESOLVED FURTHER, that any and all acts taken and any and all certificates, instruments,
agreements, filings, or other documents executed by an Authorized Person for or in the name and on behalf
of a Company, including in such Company’s capacity as the sole member or manager of a Partners
Subsidiary, prior to the adoption of these resolutions with regard to any of the transactions, actions,
certificates, instruments, agreements, filings, or other documents authorized or approved by the foregoing
resolutions be, and hereby are, in all respects, ratified, confirmed, adopted, and approved; and be it
               Case 23-11398-LSS            Doc 1     Filed 09/08/23      Page 19 of 20




        RESOLVED FURTHER, that all actions previously taken by the Committee, each Authorized
Person, or any officer, employee or agent of a Company, as applicable, in connection with or related to the
matters set forth in or reasonably contemplated or implied by the foregoing resolutions be, and each of them
hereby is, adopted, ratified, confirmed and approved in all respects as the acts and deeds of the applicable
Company; and be it

        RESOLVED FURTHER, that this Written Consent may be executed by facsimile, telecopy or
other reproduction, and such execution shall be considered valid, binding and effective for all purposes.

                                          [Signature pages follow]
DocuSign Envelope ID: 96D26098-9867-4AF3-BCCC-DBE75FD574E7
                            Case 23-11398-LSS           Doc 1   Filed 09/08/23   Page 20 of 20



                                                             SOLE MEMBER OF THE SALE                     AND
                                                             RESTRUCTURING COMMITTEE:




                                                             _________________________________________
                                                             PATRICK BARTELS
